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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
                  Plaintiffs,       )          Civil Action No. 25-cv-400
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )

      PLAINTIFFS’ RESPONSE TO DEFENDANTS’ STATUS REPORT

      Plaintiffs respectfully submit the following three points in response to

Defendants’ March 19, 2025, status report on payments. ECF 69.

      1. As to payment for work performed prior to February 13, 2025, the Court

ordered Defendants to complete payments to Plaintiffs no later than 6 pm on March

10, 2025. Defendants missed that deadline and represented to this Court that they

“expect[ed] to process the remaining payments to Plaintiffs by March 21, 2025.” ECF

69 at ¶ 4. Defendants missed that date as well. As of today, Plaintiff JDN is still owed

approximately $234,000 for past work performed on one of its grants and

approximately $19,000 on one of its cooperative agreements. See Fourth Decl. of

Andrew Sullivan at ¶¶ 3–4.

      2. As to funding on awards that Defendants have not terminated, this Court

ordered Defendants not to “giv[e] effect” to suspensions or stop-work orders “issued



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between January 20, 2025, and February 13, 2025.” ECF 60 at 48; see also ECF 47-2

at ¶ 3 (declaration stating that Defendants had directed agencies to “expeditiously

process payment requests” for “awards where work has now resumed”). Defendants

are not in compliance.

      Plaintiff AVAC’s USAID cooperative agreement provides funding through

June 19, 2026, for AVAC’s efforts to prepare African nations for the rollout of HIV

pre-exposure prophylaxis medication and development of new HIV prevention

options. ECF 1-11 at ¶¶ 3–4, 9. USAID approved AVAC’s 2025 work plan in December

2024. See Third Decl. of Mitchell Warren at ¶ 3. Defendants issued a stop-work order

on January 27, 2025, and informed AVAC on March 4, 2025, that the stop-work order

was lifted, and that “all work may continue for this award.” Id. at ¶¶ 4–5; Ex. A, B.

However, Defendants have not allocated funds to AVAC’s letter of credit for 2025,

thereby preventing AVAC from performing work for that award. Id. at ¶¶ 6–7. In fact,

AVAC has been advised by USAID that it may not resume the work, notwithstanding

that the stop-work order was lifted. Id. at Ex. C.

       The supposed “multi-level review process” undertaken by USAID and the

State Department, ECF No. 37-1 at ¶ 5, resulted in retaining AVAC’s award. Thus,

Defendants’ ongoing instruction not to work does not derive from that process.

Instead, Defendants’ actions are, in effect, a continuation of the funding suspension

effectuated by Executive Order No. 14169 and the January 24 State Department

Memorandum—implementation of which this Court has enjoined. ECF 60 at 47–48.




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      3. More than two weeks have passed since this Court issued a preliminary

injunction enjoining the restrained Defendants from “unlawfully impounding

congressionally appropriated foreign aid funds” and directing those Defendants to

“make available for obligation the full amount of funds that Congress appropriated

for foreign assistance programs in the Further Consolidated Appropriations Act of

2024.” ECF 60 at 48; see Gov’t Accountability Office, Office of Management and

Budget—Withholding of Ukraine Security Assistance, B-331564, at 7 (Jan. 16, 2020)

(stating that, to avoid an unlawful impoundment, an agency must make “reasonable

efforts to obligate”). Defendants have produced no evidence of any effort to comply

with this Court’s order.

      In light of the foregoing, this Court should direct Defendants to include in their

March 27 status report a description of the efforts that they have taken to date to

comply with the portion of the preliminary injunction that requires Defendants to

make congressionally apportioned funds available for obligation.

      In addition, this Court should direct Defendants to produce the administrative

record with respect to the actions challenged in this case, including the actions to

suspend funding, the issuance of stop-works orders on or after January 20, 2025, and

the subsequent suspensions and terminations of foreign assistance awards. Plaintiffs

and their constituencies continue to suffer irreparable harm as a result of Defendants’




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withholding of federal funds, 1 and the rationale for Defendants’ actions is a central

issue in this case. Production of the administrative record will allow for prompt

assessment of both Defendants (non-)compliance with this Court’s orders and

whether Defendants’ actions are the product of individualized review or are an

extension of the January 20 funding freeze that this Court has held to be likely

unlawful.



Dated: March 26, 2025                  Respectfully submitted,

                                       /s/ Lauren E. Bateman
                                       Lauren E. Bateman (D.C. Bar No. 1047285)
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                                       Counsel for Plaintiffs




1 See Nicholas Kristof, Musk Said No One Has Died Since Aid Was Cut. That Isn’t

True., N.Y. Times (Mar. 15, 2025),
https://www.nytimes.com/interactive/2025/03/15/opinion/foreign-aid-cuts-
impact.html.
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                          CERTIFICATE OF SERVICE

      On March 26, 2025, I caused the foregoing status report to be filed

electronically via the Court’s CM/ECF system, which provides electronic notice to all

counsel of record.


Dated: March 26, 2025                                     /s/ Lauren E. Bateman
                                                          Lauren E. Bateman




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